     Case 2:22-cv-00972-RFB-NJK Document 33 Filed 10/06/22 Page 1 of 17




 1    KAEMPFER CROWELL
      Robert McCoy, No. 9121
 2    Sihomara L. Graves, No. 13239
      1980 Festival Plaza Drive, Suite 650
 3    Las Vegas, Nevada 89135
      Telephone: (702) 792-7000
 4    Facsimile: (702) 796-7181
      Email: rmccoy@kcnvlaw.com
 5    Email: sgraves@kcnvlaw.com

 6    Alyson Bustamante Jones (pro hac vice)
      BUTLER SNOW LLP
 7    1020 Highland Colony Pkwy., Suite 1400
      Ridgeland, Mississippi 39157
 8    Telephone: (601) 985-4427
      Facsimile: (601) 985-4500
 9    Email: alyson.jones@butlersnow.com

10    Attorneys for Defendant Zeltiq
      Aesthetics, Inc.
11
12                              UNITED STATES DISTRICT COURT

13                                     DISTRICT OF NEVADA

14    MICHELE BROWN,                             Case No. 2:22-cv-00972-RFB-NJK

15                            Plaintiffs,
                                                 STIPULATED CONFIDENTIALITY
16    vs.                                        AND PROTECTIVE ORDER

17    ZELTIQ AESTHETICS, INC.;
      ORANGE TWIST LLC; DOES 1–10;
18    ROE CORPORATIONS 11–20; ABC
      LIMITED LIABILITY COMPANIES
19    21–30,

20                            Defendants.

21
22                   Plaintiff Michele Brown and Defendants Zeltiq Aesthetics, Inc. and

23   Orange Twist LLC (collectively “the Stipulating Parties”) hereby stipulate and

24   agree as follows:
     3249803_1.docx 20595.1                                                   Page 1 of 17
     65949343.v1
     Case 2:22-cv-00972-RFB-NJK Document 33 Filed 10/06/22 Page 2 of 17




 1                   1.       This Stipulated Confidentiality and Protective Order is

 2   intended to facilitate prompt discovery and preparation for trial while also

 3   affording protection to any materials designated as confidential (“Confidential

 4   Discovery Materials”) per the terms of this Order and consistent with Federal

 5   Rule of Civil Procedure 26(c) and other applicable state and federal law. The

 6   Stipulating Parties further stipulate and agree that the Confidential Discovery

 7   Materials subject to this Protective Order shall be used solely for the purpose of

 8   this litigation and shall not be produced to any other person, including other

 9   parties to this litigation, without explicit agreement of the Stipulating Parties and

10   further order of the Court.

11                   2.       This Protective Order shall govern any and all hard copy and

12   electronic materials produced by any party to the litigation, including the

13   information contained therein, and all other information including all copies,

14   excerpts, summaries, or compilations thereof revealed in a document,

15   deposition, other testimony, or discovery response produced by any party to this

16   proceeding (the “Producing Party”) to any other party (the “Receiving Party”).

17   This Protective Order is binding upon both Stipulating Parties including their

18   respective corporate parents, subsidiaries, and affiliates, and their respective

19   attorneys, principals, experts, consultants, representatives, directors, officers,

20   employees, and others as set forth in this Order. If additional parties are added

21   other than parents, subsidiaries, or affiliates of current Stipulating Parties, then

22   their ability to receive the Confidential Discovery Materials as set forth in this

23   Protective Order will be subject to them being bound, by agreement or Court

24   Order, to this Order; provided, however, that no Confidential Discovery
     3249803_1.docx 20595.1                                                      Page 2 of 17
     65949343.v1
     Case 2:22-cv-00972-RFB-NJK Document 33 Filed 10/06/22 Page 3 of 17




 1   Materials shall be provided to other parties to this litigation who are not

 2   Stipulating Parties without explicit agreement of the Stipulating Parties or

 3   further order of the Court.

 4                   3.       The term “Confidential Discovery Materials” refers to

 5   confidential, proprietary, trade secret, and/or sensitive commercial information,

 6   as designated in good faith by the Producing Party in accordance with the terms

 7   of this Order as being entitled to protection under Federal Rule of Civil

 8   Procedure 26(c), other applicable case law or rules, the Uniform Trade Secrets

 9   Act, federal and state privacy laws, and/or other applicable laws and regulations.

10   Confidential Discovery Materials containing confidential information as used in

11   this Order means documents containing trade secrets and other information that

12   is of a proprietary, business, financial, or technical nature and not known or

13   available to competitors, potential competitors, or the public, the value of which

14   arises from its being confidential and the disclosure of which (whether

15   separately or in conjunction with other information being produced) is believed

16   in good faith by the Producing Party to have the potential, if disclosed, for

17   causing competitive harm to it or giving a competitive advantage to others.

18                   4.       This Stipulated Protective Order does not confer blanket

19   protections on all documents, disclosures, or responses to discovery, and the

20   protection it affords extends only to the specific information or items that are

21   entitled to protection under applicable legal principles for treatment as

22   confidential after individual review by the Producing Party.

23                   5.       No person who examines any item produced pursuant to a

24   discovery request, or information that is protected by this Order, shall
     3249803_1.docx 20595.1                                                   Page 3 of 17
     65949343.v1
     Case 2:22-cv-00972-RFB-NJK Document 33 Filed 10/06/22 Page 4 of 17




 1   disseminate orally, or by any other means, any protected information other than

 2   as permitted by this Order or subsequent order by the Court.

 3                   6.       Any designation of Confidential Discovery Materials under

 4   this Protective Order shall not be construed as an admission or an agreement by

 5   any party that any document, material or information, or any portion thereof,

 6   constitutes competent, material, relevant, or admissible evidence in this case.

 7                   7.       Nothing herein shall be construed as a waiver by any party of

 8   the right to contest the designation of documents as Confidential under this

 9   Stipulated Protective Order. A party may challenge, by motion, the propriety of

10   a confidential designation at any time, after first conferring with the Producing

11   Party to attempt to resolve the matter without seeking court intervention.

12                   8.       Pending this Court's determination, no document designated

13   as Confidential under this Order shall be disseminated other than as provided by

14   this Order unless otherwise ordered by the Court or as stipulated by the

15   Stipulating Parties. To the extent that this Court determines that a document

16   designated as Confidential under this Order is not entitled to protection under

17   this Order, then said document will be considered non-confidential and

18   non­protected for purposes of this litigation.

19                   9.       Pursuant to the terms and requirements of this Stipulated

20   Protective Order, the Producing Party may designate as Confidential all or any

21   part of Discovery Materials produced by it in the course of litigation or in

22   response to initial disclosures or discovery requests, including any documents,

23   electronic files or data compilations produced in depositions, as well as

24
     3249803_1.docx 20595.1                                                       Page 4 of 17
     65949343.v1
     Case 2:22-cv-00972-RFB-NJK Document 33 Filed 10/06/22 Page 5 of 17




 1   deposition transcripts and exhibits, or portions thereof, that contain or constitute

 2   confidential information.

 3                   10.      The designation of Discovery Materials as Confidential shall

 4   be made by placing or affixing on the material in a manner that will not interfere

 5   with its legibility the words “CONFIDENTIAL – SUBJECT TO PROTECTIVE

 6   ORDER” as long as the designation is conspicuously placed on produced

 7   documents in a uniform manner. The designation shall be made prior to, or

 8   contemporaneously with, production or disclosure of that material. All copies,

 9   duplicates, extracts, summaries, or descriptions (hereinafter referred to

10   collectively as “Copies”) of documents designated as Confidential pursuant to

11   this Order, or any portion of such a document, shall be immediately affixed with

12   the designation CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER, if

13   the words do not already appear on the Copy. All such Copies shall be afforded

14   the full protection of this Order.

15                   11.      Deposition testimony or any portion thereof may be

16   designated Confidential by notifying all Stipulating Parties either (a) on the

17   record at the time of the deposition or (b) by writing within fifteen (15) days of

18   receipt of the final transcript by counsel making the designation specifying the

19   testimony being designated by page and line number. Until the expiration of

20   such 15-day period, the text of the deposition transcript relating to Confidential

21   Discovery Material, including all testimony therein, shall be treated as

22   Confidential under this Order. Any testimony that describes Confidential

23   Discovery Material may be designated as Confidential. Similarly, any deposition

24   exhibits that have been marked Confidential shall be treated as Confidential
     3249803_1.docx 20595.1                                                      Page 5 of 17
     65949343.v1
     Case 2:22-cv-00972-RFB-NJK Document 33 Filed 10/06/22 Page 6 of 17




 1   documents under the terms of this Protective Order and shall not be annexed to

 2   the deposition transcript as exhibits thereto unless the transcript is marked

 3   accordingly to maintain the confidentiality of documents. If the party seeking to

 4   maintain a deposition transcript as Confidential does not make such a

 5   designation on the record at the time of the deposition or does not serve a letter

 6   on the court reporter and all Stipulating Parties designating the material as

 7   confidential within fifteen (15) days of receipt of the final deposition transcript,

 8   then the transcript shall be deemed not to contain any Confidential Discovery

 9   Materials. To the extent any party seeks to use any Confidential testimony or

10   portion of testimony relating to Confidential Discovery Materials for the purpose

11   of litigation prior to fifteen (15) days of receipt of the final deposition transcript,

12   the party seeking to use such material shall provide notice and meet and confer

13   with the party who bears the burden of designating such material or testimony

14   as Confidential.

15                   12.      The Producing Party may use redactions to protect attorney-

16   client privilege; attorney work product; information prohibited from disclosure

17   by federal, state, or foreign statutes or regulations; medical information

18   concerning any individual who is not a party to this litigation; personal

19   identifying information; and non-responsive information regarding products not

20   at issue in this litigation. The reason for the redaction shall be noted in text upon

21   the redacted area (“Redacted – Privilege”, “Redacted – PII”, etc.) Any privilege

22   redactions shall be identified in a privilege log that complies with the requirements

23   of FRCP 26(b)(5). All documents containing redactions for reasons other than

24
     3249803_1.docx 20595.1                                                       Page 6 of 17
     65949343.v1
     Case 2:22-cv-00972-RFB-NJK Document 33 Filed 10/06/22 Page 7 of 17




 1   privilege will be identified by Bates number in a redaction log, with the reason

 2   for the redaction indicated (e.g. “Personal Identifiable Information”).

 3                   13.      The Producing Party may in good faith fully withhold

 4   documents whose entire contents are deemed to be protected under the attorney-

 5   client privilege or work product doctrine.                 For documents withheld from

 6   production pursuant to a claim of attorney-client privilege or work product

 7   protection, the Producing Party shall provide a privilege log within 30 days

 8   following the production of documents from which the privileged documents are

 9   withheld.

10                   14.      A party may not file in the public record any Confidential

11   Discovery Materials without written permission from the Producing Party or a

12   Court Order secured after appropriate notice to the Stipulating Parties.

13                   15.      Confidential Discovery Materials shall not be disclosed to any

14   other person or entity, including, but not limited to, other parties to this litigation

15   who are not Stipulating Parties, except in the following circumstances:

16                   a. Disclosure may be made to employees of counsel for the

17                         Stipulating Parties who have direct functional responsibility for

18                         assisting in the preparation and trial of this action or any appeal

19                         herein and who shall become subject to, in advance of the

20                         disclosure, this Protective Order;

21                   b. Disclosure may be made to consultants or experts (collectively

22                         “Experts”) employed by the Stipulating Parties or their counsel

23                         to assist in the preparation and trial of this litigation, provided

24                         that prior to any disclosure, the Experts agree to be bound by the
     3249803_1.docx 20595.1                                                         Page 7 of 17
     65949343.v1
     Case 2:22-cv-00972-RFB-NJK Document 33 Filed 10/06/22 Page 8 of 17




 1                       terms of this Stipulated Protective Order by executing Exhibit A

 2                       hereto, which shall be kept by the Party retaining the subject

 3                       Expert. At the conclusion of the litigation, including any appeal,

 4                       counsel for the Receiving Party shall confirm in writing that it

 5                       will seek to have Confidential Discovery Materials provided to its

 6                       Experts returned to counsel for the Producing Party or destroyed.

 7                       Before disclosing Confidential Discovery Material to any

 8                       person, the party proposing to make such disclosure will assure

 9                       itself that the person to whom Confidential Discovery Material

10                       will be disclosed is not a competitor (or a current employee of a

11                       competitor) of the Producing Party. In the event that a party

12                       proposes to make disclosure of Confidential Discovery Material

13                       to a competitor (or employee, officer, director, or consultant of a

14                       competitor, or anyone, who, at the time of disclosure, is

15                       anticipated to become an employee, officer, director, or

16                       consultant of a competitor) of the Producing Party, the party

17                       proposing to make such disclosure will give at least ten (10)

18                       days advance notice in writing, which will identify the

19                       person(s) to whom the disclosure will be made, to counsel for

20                       the Producing Party. If, within the 10-day period, the Producing

21                       Party objects in writing to the proposed disclosure, disclosure

22                       will not be made until the parties have resolved the matter or until

23                       the court has ruled on it.

24
     3249803_1.docx 20595.1                                                        Page 8 of 17
     65949343.v1
     Case 2:22-cv-00972-RFB-NJK Document 33 Filed 10/06/22 Page 9 of 17




 1                   c. Disclosure may be made to the Stipulating Parties to the extent

 2                       required for assisting in the preparation and trial of this matter or

 3                       any appeal herein, provided that prior to any disclosure, the Party

 4                       shall be advised of and shall become subject to the terms of this

 5                       Order by executing Exhibit A hereto;

 6                   d. Disclosure may be made to the Court and court personnel

 7                       (including the court having jurisdiction over any appeal);

 8                   e. Disclosure may be made to court reporters only for the purpose

 9                       of transcribing or otherwise memorializing proceedings,

10                       including depositions, in this litigation, provided that prior to any

11                       disclosure, the court reporter shall be advised of and shall become

12                       subject to the terms of this Order. Any court reporter to whom

13                       disclosure is made shall hold the material and information in

14                       confidence and shall not sell, distribute, or otherwise disclose the

15                       material and information to anyone other than counsel of record;

16                   f. Disclosure may be made to any person who (i) authored or received

17                       a copy of any Confidential Discovery Material before it was

18                       produced in this litigation or (ii) was present or participated in a

19                       meeting or discussion of any Confidential Discovery Material

20                       before it was produced in this litigation;

21                   g. Disclosure may be made to any mediators, secretaries,

22                       paraprofessional assistants, and other employees of such

23                       mediators who are actively engaged in assisting the mediators in

24                       connection with this matter, provided that prior to any disclosure
     3249803_1.docx 20595.1                                                         Page 9 of 17
     65949343.v1
     Case 2:22-cv-00972-RFB-NJK Document 33 Filed 10/06/22 Page 10 of 17




 1                          the individuals shall be advised of, and shall become subject to

 2                          the terms of this Order;

 3                    h. Disclosure may be made to employees of outside copying, document

 4                          imaging, litigation, trial support, and facsimile services, provided

 5                          that prior to any disclosure, such employees shall be advised of and

 6                          shall become subject to the terms of this Order;

 7                    i. Disclosure may be made to witnesses or deponents in the course of

 8                          this litigation only as necessary for the litigation provided that, if the

 9                          witness or deponent is not an employee or agent of the Producing

10                          Party prior to any disclosure, the witness or deponent shall be

11                          advised of and shall become subject to the terms of this Order by

12                          executing Exhibit A hereto. The executed acknowledgement shall be

13                          retained by counsel for the Receiving Party with a copy provided to

14                          counsel for the Producing Party where providing a copy does not

15                          violate the attorney-client privilege, the work-product privilege, or

16                          any other privilege.

17                    16.      All recipients of Confidential Discovery Materials shall maintain

18    such material within their exclusive possession and control, and shall take reasonable

19    steps to maintain such material in a secure manner.

20                    17.      Any person having access to Confidential Discovery Materials,

21    including consultants and experts, are permitted to make copies, extracts, summaries,

22    or descriptions of the material or information or any portion thereof as necessary for

23    the preparation and trial of this litigation, in accordance with Paragraph 10 of this

24    Order.
      3249803_1.docx 20595.1                                                              Page 10 of 17
      65949343.v1
     Case 2:22-cv-00972-RFB-NJK Document 33 Filed 10/06/22 Page 11 of 17




 1                    18.      See order issued concurrently herewith.

 2

 3
 4
 5

 6
 7
 8
 9
10                    19.      If another court or an administrative agency subpoenas or

11    otherwise orders production of Confidential Discovery Materials that a person

12    has obtained pursuant to the terms of this Order, the person to whom the

13    subpoena or other process is directed shall notify within five (5) days the court

14    or administrative agency that issued the subpoena or other process that the

15    requested materials are subject to a Protective Order, and the person to whom

16    the subpoena or other process is directed shall also notify within five (5) days

17    counsel for the Producing Party in writing via email, facsimile, or overnight

18    delivery of all of the following: (a) the Confidential Discovery Materials that are

19    requested for production in the subpoena; (b) the date on which compliance is

20    requested or required; (c) the location at which compliance is requested or

21    required; (d) the identity of the party seeking the materials; and (e) the case

22    name, jurisdiction, docket, complaint, charge, civil action, or other identification

23    number or other designation identifying the litigation, administrative, or other

24    proceeding in which the subpoena or other process has been issued. In no event
      3249803_1.docx 20595.1                                                   Page 11 of 17
      65949343.v1
     Case 2:22-cv-00972-RFB-NJK Document 33 Filed 10/06/22 Page 12 of 17




 1    shall Confidential Discovery Materials be produced prior to the expiration of ten

 2    (10) days following transmission of written notice to counsel for the Producing

 3    Party unless required to do so by the subpoena or order seeking the documents.

 4    Nothing in this Order shall prohibit the Producing Party from seeking to intervene

 5    in any litigation, administrative, or other proceeding in which the subpoena or

 6    other process has been issued.

 7                    20.      If any party learns of any unauthorized disclosure of

 8    Confidential Discovery Materials by any individual, the party shall immediately

 9    consult with the other Stipulating Parties to resolve any issue of unauthorized

10    disclosure consistent with this Order. If judicial relief is still needed, the

11    Stipulating Parties shall inform the Court in writing of all pertinent facts relating

12    to such disclosure.

13                    21.      Inadvertent production of any Discovery Materials without a

14    designation of Confidential will not be deemed to waive a later claim to its

15    confidential nature or preclude a party from designating said document or

16    information as Confidential pursuant to this Order at a later date. Any party may

17    designate as Confidential or withdraw a Confidential designation from any

18    Discovery Materials that it has produced or provided, but such re-designation

19    shall be effective only as of the date of such re-designation. A party must treat

20    such documents and things with the noticed level of protection from the date

21    such notice is received. Such re­designation shall be accomplished by notifying

22    counsel for each party in writing of such re­designation and providing

23    replacement images bearing the appropriate designation. Upon receipt of any re-

24    designation and replacement image that designates Discovery Material as
      3249803_1.docx 20595.1                                                    Page 12 of 17
      65949343.v1
     Case 2:22-cv-00972-RFB-NJK Document 33 Filed 10/06/22 Page 13 of 17




 1    Confidential all Stipulating Parties shall (1) treat such material in accordance

 2    with this Order; (2) take reasonable steps to notify any persons known to have

 3    possession of any such material of such re­ designation under this Order; and (3)

 4    promptly endeavor to procure all copies of such material from any persons

 5    known to have possession of such material who are not entitled to receipt under

 6    this Protective Order.

 7                    22.      Inadvertent production of documents subject to work-product

 8    immunity, the attorney-client privilege, or other legal privilege protecting

 9    information from discovery shall not constitute a waiver of the immunity or

10    privilege. With respect to such inadvertently produced documents, the

11    following procedures shall apply, and the parties agree that such procedures

12    constitute reasonable and prompt steps to prevent disclosure and to rectify the error

13    of disclosure, pursuant to the Federal Rules of Civil Procedure:

14                    a. The party discovering the inadvertent production will contact the

15                          opposing party to apprise that party of such production promptly.

16                    b. If no dispute exists as to the protected nature of the inadvertently

17                          produced documents, any party in possession of inadvertently

18                          produced documents (“party in possession”) shall, within fifteen

19                          (15) days of receiving the notice of inadvertent production,

20                          destroy the inadvertently produced documents along with any

21                          copies and notes or other work product reflecting the contents of

22                          such documents, including the deletion of all inadvertently

23                          produced documents from any litigation-support or other

24                          database. In the event that only portions of the inadvertently
      3249803_1.docx 20595.1                                                       Page 13 of 17
      65949343.v1
     Case 2:22-cv-00972-RFB-NJK Document 33 Filed 10/06/22 Page 14 of 17




 1                        produced documents contain privileged subject matter, the

 2                        Producing Party shall substitute redacted versions of the

 3                        documents within ten (10) days of the certification of destruction

 4                        of the inadvertently produced documents.

 5                    c. If the party in possession believes that the documents are not

 6                        subject to the protections of work-product immunity, attorney-

 7                        client privilege, or other legal privilege protecting information

 8                        from discovery, the party in possession shall, within fifteen (15)

 9                        days of sending or receiving the notice of inadvertent production,

10                        object to the Producing Party's claim of protection by notifying

11                        the Producing Party of the objection in writing and specifically

12                        identifying the produced documents to which the objection

13                        applies. Upon the Producing Party's receipt of written

14                        notification, the parties will confer in an effort to resolve the

15                        dispute without Court intervention. If the parties cannot resolve

16                        the dispute, any party can, within fifteen (15) days of reaching an

17                        impasse, file a motion with the Court seeking an in camera

18                        review of the documents in question. The proponent of the

19                        privilege or immunity has the burden of proving by a

20                        preponderance of the evidence that the inadvertently produced

21                        documents are entitled to protection. If the Court determines that

22                        the inadvertently produced documents are entitled to work-

23                        product immunity, attorney-client privilege, or other legal

24                        privilege protecting information from discovery, the party in
      3249803_1.docx 20595.1                                                      Page 14 of 17
      65949343.v1
     Case 2:22-cv-00972-RFB-NJK Document 33 Filed 10/06/22 Page 15 of 17




 1                          possession shall, within fifteen (15) days of the Court's decision,

 2                          comply with the provisions of paragraph 22(b), above.

 3                    d. Upon receipt of notice of inadvertent production pursuant to

 4                          paragraph 22(a) and until the parties have resolved the issue

 5                          pursuant to paragraph 22(b) or (c), no use shall be made of

 6                          inadvertently produced documents during depositions or at trial

 7                          nor shall they be disclosed to anyone who did not previously

 8                          have access to them.

 9                    23.      Upon final termination of this action, whether by judgment,

10    settlement, or otherwise, counsel for all Stipulating Parties shall return to

11    counsel for the Producing Party all materials and all copies thereof in his/her

12    possession that were designated by the Producing Party as Confidential

13    Discovery Materials in accordance with this Order, unless otherwise agreed or

14    ordered. If counsel for any Stipulating Party does not receive a written request

15    for the return of the aforesaid materials and copies within ten (10) days of final

16    termination of this action, then counsel for any such Stipulating Party may

17    destroy said materials and copies.

18                    24.      Any party for good cause shown may apply to the Court for

19    modification of this Protective Order, or the Protective Order may be modified by

20    consent of the Stipulating Parties in writing. This Stipulated Protective Order shall

21    remain in full force and effect after the termination of this action.

22                    25.      Nothing is in this Stipulation is intended to supersede any court

23    rule or statute. In the event of a conflict between any portion of this Stipulation and

24    any applicable rule, law, or statute, the rule, law, or statute shall prevail.
      3249803_1.docx 20595.1                                                           Page 15 of 17
      65949343.v1
     Case 2:22-cv-00972-RFB-NJK Document 33 Filed 10/06/22 Page 16 of 17




 1     THE VIEIRA FIRM, PLLC                    KAEMPFER CROWELL

 2
       /s/ Andréa L. Vieira
 3     Andréa L. Vieira, No. 15667              Robert McCoy, No. 9121
       3100 W. Charleston Blvd., Suite 100      Sihomara L. Graves, No. 13239
 4     Las Vegas, Nevada 89102                  1980 Festival Plaza Drive, Suite 650
                                                Las Vegas, Nevada 89135
 5     Attorneys for Plaintiff Michele Brown
                                                Alyson Bustamante Jones (pro hac vice)
 6                                              BUTLER SNOW LLP
                                                1020 Highland Colony Pkwy, Suite 1400
 7                                              Ridgeland, Mississippi 39158
 8                                              Attorneys for Defendant Zeltiq
                                                Aesthetics, Inc.
 9
       COLLINSON, DAEHNKE, INLOW
10     & GRECO
11
       /s/ Linda K. Rurangirwa
12     Patricia Egan Daehnke, No. 4976
       Linda K. Rurangirwa, No. 9172
13     2110 E. Flamingo Road, Suite 212
       Las Vegas, Nevada 89119
14
       Attorneys for Defendant Orange
15     Twist, LLC
16
17                                        ORDER

18                    IT IS SO ORDERED.

19
20

21                                           UNITED STATES MAGISTRATE JUDGE

22                                           DATED: October 6, 2022

23

24
      3249803_1.docx 20595.1                                                 Page 16 of 17
      65949343.v1
     Case 2:22-cv-00972-RFB-NJK Document 33 Filed 10/06/22 Page 17 of 17




 1                                           EXHIBIT A

 2                               UNITED STATES DISTRICT COURT
 3                                      DISTRICT OF NEVADA
 4     MICHELE BROWN,                             Case No. 2:22-cv-00972-RFB-NJK
 5                             Plaintiffs,
                                                  STIPULATED CONFIDENTIALITY
 6     vs.                                        AND PROTECTIVE ORDER
 7     ZELTIQ AESTHETICS, INC.;
       ORANGE TWIEST LLC; DOES 1–10;
 8     ROE CORPORATIONS 11–20; ABC
       LIMITED LIABILITY COMPANIES
 9     21–30,
10                             Defendants.
11
12                              CONFIDENTIAL UNDERTAKING
13                    The undersigned hereby acknowledges that he/she has read the
14    Stipulated Confidentiality and Protective Order executed by the attorneys of
15    record for the Stipulating Parties in this case and understands the terms thereof,
16    and agrees, upon threat of penalty of contempt, to be bound by such terms.
17

18    Date: _____________________              Signature: __________________________

19                                             Printed Name: _______________________
20

21
22
23

24
      3249803_1.docx 20595.1                                                  Page 17 of 17
      65949343.v1
